                     Case 8-18-75661-reg                Doc 20          Filed 10/10/18   Entered 10/10/18 10:39:22
                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               290 Federal Plaza
                                                             Central Islip, NY 117

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IN RE:                                                                              Case No. 8-18-75661-reg
Deborah Ann Bullen Thomas                                                           Chapter 7
 aka Deborah Ann Thomas
aka Deborah Ann Bullen
                                                   Debtor
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                                  REQUEST FOR JUDICIAL DETERMINATION
                              CONCERNING DISMISSAL PURSUANT TO 11 U.S.C. § 521(i)

The Clerk’s Office requests the Court to determine whether this case should be dismissed pursuant to 11 U.S.C. § 521(i). The
following deficiencies under 11 U.S.C. § 521(a)(1) are noted:
     Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Official Form 2010)
✔ Schedule A/B (Property) (Official Form 106A/B)
✔ Schedule D (Creditors Who Have Claims Secured By Property) (Official Form 106D)
✔ Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F)

✔ Schedule I (Your Income) (Official Form 106I)
✔ Schedule J (Your Expenses) (Official Form 106J)
     Schedule J-2 (Expenses for Separate Household of Debtor 2) (Official Form 106J-2) (if applicable)
✔ Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)

✔ Chapter 7 Statement of Your Current Monthly Income and Means-Test Calculation (Official Form 122A-1)
  Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)

✔ Copies of Pay Statements received within 60 days of filing from any employer or a statement indicating this
     requirement is not applicable

NOW, THEREFORE, IT IS HEREBY ORDERED, THAT
     The Clerk’s Office is directed to dismiss this case pursuant to 11 U.S.C. § 521(i)(1).
     The Clerk’s Office is directed not to dismiss this case pursuant to 11 U.S.C. § 521(i)(1) for the following reasons:
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